846 F.2d 69Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alvereze BOLDEN, Plaintiff-Appellant,v.Edward W. MURRAY, Saundra Hylton, Thomas R. Israel, Dr. Fox,Nurse Murphy, Defendants-Appellees.
    No. 88-7044.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1988.Decided April 11, 1988.
    
      Alvereze Bolden, appellant pro se.
      Richard Francis Gorman, III, Office of Attorney General, for appellees Murray, Hylton, Israel.
      Mary Moffett Hutcheson Priddy, McGuire, Woods, Battle &amp; Boothe, for appellees Fox, Murphy.
      Before K.K. HALL, SPROUSE, and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Alvereze Bolden, a Virginia inmate, filed a 42 U.S.C. Sec. 1983 complaint alleging that he has been deprived of adequate medical care.  Subsequent to the filing of the complaint defendants filed a motion for a protective order from plaintiff's discovery.  The district court granted this motion and Bolden appeals.
    
    
      2
      Under 28 U.S.C. Sec. 1291, this Court has jurisdiction to review final decisions of the district court.  A final decision disposes of all issues in dispute as to all parties.  "Federal appellate jurisdiction generally depends on the existence of a decision by the District Court that 'ends the litigation on the merits and leaves nothing for the court to do but execute the judgment.' "   Coopers &amp; Lybrand v. Livesay, 437 U.S. 463, 467 (1978) (quoting Catlin v. United States, 324 U.S. 229, 233 (1945)).  Final judgment has not yet been entered in this case.
    
    
      3
      The collateral order doctrine provides a limited exception to the final judgment rule.   See Firestone Tire &amp; Rubber Co. v. Risjord, 449 U.S. 368 (1981);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  Under the collateral order doctrine an interlocutory order may be appealed if it (1) conclusively decides the disputed issue;  (2) resolves an important issue which is separate from the merits of the case;  and (3) is unreviewable on appeal from the judgment.   Firestone, supra, at 375.
    
    
      4
      Bolden's appeal does not qualify under this doctrine.   See Rouse Construction International, Inc. v. Rouse Construction Corp., 680 F.2d 743, 745 (11th Cir.1982).
    
    
      5
      Accordingly, we dismiss this appeal for lack of jurisdiction.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument.
    
    
      6
      DISMISSED.
    
    